

Canestri v United Coach Lines, Inc. (2021 NY Slip Op 06750)





Canestri v United Coach Lines, Inc.


2021 NY Slip Op 06750


Decided on December 02, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 02, 2021

Before: Gische, J.P., Kapnick, Kern, Gesmer, Kennedy, JJ. 


Index No. 152081/17 Appeal No. 14752 Case No. 2021-01093 

[*1]Vanessa Barbero Canestri et al., Plaintiffs-Respondents,
vUnited Coach Lines, Inc. et al., Defendants-Appellants.


Gallo Vitucci Klar LLP, New York (Heather Ragone of counsel), for appellants.
Arnold E. DiJoseph, P.C., New York (Arnold E. DiJoseph, III of counsel), for respondents.



Order, Supreme Court, New York County (Lisa S. Headley, J.), entered on or about October 21, 2020, which denied defendants' motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
In this action in which plaintiff's decedent was struck by a bus owned and operated by defendants, summary judgment is precluded by conflicting witness testimony and experts' affidavits (see e.g. Rawls v Simon, 157 AD3d 418, 419 [1st Dept 2018]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 2, 2021








